Case 3:19-bk-30822       Doc 43    Filed 06/26/19 Entered 06/26/19 17:00:50            Desc Main
                                   Document     Page 1 of 2


                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

  IN RE:                                     )
                                             )          Case No. 3:19-bk-30822
  TAGNETICS INC.,                            )
                                             )          Chapter 7 (Involuntary)
                      Alleged Debtor.        )
                                             )          JUDGE GUY R. HUMPHREY


                            NOTICE OF MOTION/OBJECTION

Tagnetics, Inc. has filed papers with the Court to dismiss and compel arbitration regarding the
alleged claims filed by the alleged individual creditors Kayser, Earley, and Hager (hereinafter the
“Motion”).

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to
consult one.

If you do not want the Court to grant the relief sought in the Motion, then on or before twenty-one
(21) days from the date set forth in the certificate of service for the Motion, you must file with
the Court a response explaining your position by mailing your response by ordinary U.S. Mail to
U.S. Bankruptcy Court, Southern District of Ohio, Dayton Divisional Office, 120 West Third
Street, Dayton, Ohio 45402 OR your attorney must file a response using the Court’s ECF System.

The Court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the Court’s ECF System or 2) ordinary
U.S. Mail and/or email to Robert R. Kracht, Esq., McCarthy, Lebit, Crystal & Liffman, Co.,
L.P.A., 101 West Prospect Ave., Suite 1800, Cleveland, OH 44115 (rrk@mccarthylebit.com);
Stephen Stern, Esq., Kagen, Stern, Marinells & Beard, LLC, 238 West Street, Annapolis,
Maryland 21401 (Stern@kaganstern.com); Douglas S. Draper, Esq. and Leslie Collins, Esq.,
Heller, Draper, Partick, Horn, 650 Poydras Street, Suite 2500, New Orleans, LA 70130
(ddraper@hellerdraper.com) (lcollins@hellerdraper.com); Tagnetics, Inc., 3415 Route 36, Piqua,
OH 45356; Kenneth W. Kayser, PO Box 115, Catawba, VA 24070; Ronald E. Early, 6429
Winding Tree Drive, New Carlisle, OH 45344; Jonathan Hager, 2170 River Oaks Drive, Salem,
VA 24153; Robert Strain, 427 Artell Street, Marengo, IL 60152; Jeremy Shane Flannery, U.S.
Trustee Office, 170 North High Street, Suite 200, Columbus, OH 43215, and Christopher Wesner,
Esq., Miller, Luring, Venters & Wesner Co., LPA, 314 W. Main St., Troy, Ohio 45373, counsel
for Kayser Ventures, Ltd., and S-Tek, Inc.




{01336103-1}
Case 3:19-bk-30822        Doc 43     Filed 06/26/19 Entered 06/26/19 17:00:50              Desc Main
                                     Document     Page 2 of 2


If you or your attorney do not take these steps, the Court may decide that you do not oppose the
relief sought in the Motion and may enter an order granting that relief without further hearing or
notice.

Dated: June 26, 2019                                   /s/ Robert R. Kracht
                                                       Robert R. Kracht (#0025574)


                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 26, 2019, a copy of the foregoing was served (i)
electronically on the date of filing through the Court’s ECF System on all ECF participants
registered in this case at the email address registered with the court and (ii) electronically by email
on co-counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper,
Esq. (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii)
by ordinary U.S. Mail as addressed to:

Kenneth W Kayser                                   Stephen Stern, Esq.
PO Box 115                                         Kagan Stern Marinello & Beard, LLC
Catawba, VA 24070                                  238 West Street
                                                   Annapolis, Maryland 21401
Ronald E. Early                                    Douglas S. Draper, Esq.
6429 Winding Tree Drive                            Heller, Draper, Patrick, Horn
New Carlisle, OH 45344                             650 Poydras Street, Suite 2500
                                                   New Orleans, LA 70130
Jonathan Hager                                     Leslie A. Collins, Esq.
842 Paint Bank Road                                Heller, Draper, Patrick, Horn
Salem, VA 24153                                    650 Poydras Street, Suite 2500
                                                   New Orleans, LA 70130
Robert Strain                                      Tagnetics, Inc.
427 Artell Street                                  3415 Route 36
Marengo, IL 60152                                  Piqua, OH 45356


                                                       /s/ Robert R. Kracht
                                                       Robert R. Kracht (#0025574)




{01336103-1}
